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AO 98 (Rey. 12/LL) Appearance Bond 0 R | G | N A

 

UNITED STATES DISTRICT Co
forthe
Southern District of New York

 

United States of America )
V. )
)  Casé No. 17 CR 630 (ER)

MARK SCOTT 7 )
Defendant )

APPEARANCE BOND

Defendant’s Agreement

I, MARK SCOTT (defendant), agree to follow every order of this court, or any

 

court that considers this case, and J further agree that this bond may be forfeited if I fail;
( K] ) to appear for court proceedings;
( &) ) if convicted, to surrender to serve a sentence that the court may impose; or
( XX] ) to comply with all conditions set forth in the Order Setting Conditions of Release.

 

Type of Bond
( 1) (1) This is a personal recognizance bond,
((]) @) This is an unsecured bond of $
( &) G) Thisisasecured bond of $ 2.5 MILLION — _, secured by:

 

(C1) @$

__. , in cash deposited with the court.

( Bd) (b) the-agreement of the defendant and each surety to forfeit the following cash or other property
(desdribe the.cash or other property, including claims on it—such as a lien, morigage, or loan — ard attach proof of
ownership and value}:

CORAL GABLES APARTMENT

  

 

 

If this bond is.secured by real property, documents to protect the secured interest may be filed of record.

((1.) (¢) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):

 

 

 

Forfeiture or Release of the Bond

Forfeiture of the Bond, This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.

 
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AG'98 (Rev. 12/11) Appearance Bord

Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the

security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

Declarations

Ownership of the Property. 1, the defendant — and each surety ~- declare under penalty of perjury that:

() all-owners of the property securing this appearance bond are included on the bond;
(2) the property is not subject to claims, except as described above; and

(3) I will not sell the property, allow further claims to be made against it, or do anything to reduce its value
while this appearance bond is in effect.

Acceptance. I, the defendant — and each surety — have read this appearance bond and have either read all the conditions of
release set by the court or had them explained to me. I agree to this Appearance Bond.

I, the defendant ~ and each surety — declare under penalty of petjury that this information is true. (See 28 U.S.C.§ 1746.)

¥

 

 

 

 

 

Date: oa e~.
“ Defendant's signature MARK SCOTT
Surety/property owner — Surety/property owner —
Surety/property owner — Surety/property owner —
Surety/property owner — Surety/praperty owner —
CLERK OF COURT
Date:

 

Signature of Clerk or Deputy Clerk

Approved. ee Sw Soto

Date:

 

AUSA's Signature FOLLY / DIMASE / LOZANG

 
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AQ 199A (Rev, 12/81} Order Setting Conditions of Release Page | of

UNITED STATES DISTRICT COURT

for the
Southern | Districtof New York

United States of America

 

)
¥: )
) Case No. 17 CR.630 (ER)
MARK SCOTT )
Defendant )

ORDER SETTING CONDITIONS OF RELEASE
IT IS ORDERED that the defendant’s release is subject to these conditions:
(1) The defendant must not violate federal, state, or local law while on release,
(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a,

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making,
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at:

 

Place

 

on

 

Date and Time
If blank, defendant will be notified of next appearance.

(3) The defendant must sign an Appearance Bond, if ordered.

 
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AO AO 1998 (Rev. L2/E 1) Additional Conditions of Release Page of _ Pages

ADDITIONAL ‘CONDITIONS OF RELEASE

IT 1S- FURTHER. ORDERED that the defendant’s release is subject to the conditions marked below:

(E) (6) The defendarit is placed in the custody oft
Person or organization
Address fonty ifabove is an organization} ;
City and state Tel. No.

who agrees to (a) supervisé the deféndant, (b) use ‘every effort to assure the: defendant's appearance at all court proceedings, and (c) notify the cotit
immediately if the defendant violates a. condition of release or fs no longer in the custodian’s custody,

 

 

 

 

Signed:

 

Custodian Date
(2) (7) The defendant must:

( Ed ) (@) submitto supervision by.and report. for supervision to the | PSA AS DIRECTED
telephone number no later than

 

 

 

( 11) @) continue or actively seek employment.

( £1 )} () coiitinue or siart an education program.

( } (@) surrender any passport to:. PRETRIAL SERVICES _ -
( EL} (©) not obtains passport or other international travel document.

( } (2) abide by the following resirictions on personal association, residence, or travel: SOUTHERN AND ZASTERN DISTRICTS OF

 

NEW YORK ,SOQUTHERN. DISTRICT OF FLORIDA AND POINTS IN BETWEEN
€ 01) &) avoid all. contact, directly or indirectly, with any person who is or may be a victin or wilness Tn the investigation or prosecution,
including:

 

 

(0 )} () get medical or psychiatric treatment:

 

 

 

 

( (1) Gi) return.to custody cach ‘at o'clock after'being released at =o’ clock’ for employment, schooling,
or the following purposes: _

( C1) G). maintain residence at a. halfway house.ot community corrections center, as the pretrial services office or supervising: officer considers:

. necessary.

( (1 ) (k) not possess a firearm, destructive device, or other weapon.

( £1) @) not use atcohel ( _ EF )atail( [1 ) excessively.

( C1 ) (m) not use or unlawfully possess 4 narcotic drug or other controlled substances defined in 21 U:S.C. § 802, unless prescribed by a licensed
medical practitioner.

( (1) @) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with.

tandom frequency and may include urine testing, the wearing of a sweat patch, a temote alcohol testing system, and/or any form. of
prohibited substanée screening. or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and
accuracy. of prohibited substance screening. or testing.

(71) &) participate in a program. of inpatient or outpatient,substance-abuse. therapy and: counseling if directed by ‘the pretrial services office or

supervising officer.
( KI) (p) participate in one of the following. Jocation restriction progtams arid comply with its requirements-as directed.
(C1) G) Curfew. ‘You are restricted to-your residence avery day ( [}fom ito or € (7 jas

directed by the pretrial services office or supervising officer; or
(2) Gi) Home Detention. You. are restricted to your residence at all times. except for employment; education; religious services;
medical, substance abuse, or thental health treatment; attomey visits; court appearances; court-ordered obligations; or other
activities approved in advance by the pretrial services office or supervising officer; or
(1) Gi) Home Incarceration. You are restricted to'24-hour-a-day lock-down at. your residence except for medical necessities and
court appearances or-othér activities specifically approved by the court,
( E1 ) (q) submit to location monitoring as directéd by the pretrial services office or supervising officer and comply with all of the program
requirements and instructions provided.
(2) ) You must pay all or part of the cost of the program based on your ability to pay as determined by. the pretrial services office or
supervising officer.
(2 ) @) report as-soon as possible, to the. pretrial services office or supervising officer, every contact with law enforcement personnel, including
arrests, questioning, or traffic stops.

 
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ADDITIONAL CONDITIONS OF RELEASE

( 1) () $2.5 MILLION PERSONAL RECOGNIZANCE BOND; SECURED BY CORAL GABLES
APARTMENT; TRAVEL RESTRICTED TO SDNY/EDNY/SDFL AND POINTS IN BETWEEN;
SURRENDER TRAVEL DOCUMENTS AND NO NEW APPLICATIONS; PRETRIAL SUPERVISION
AS DIRECTED BY PRETRIAL SERVICES; HOME DETENTION; Defendant to be released from
custody pursugnt to the following conditions: » $2.5 million personal recognizance bond, secured
by a warranty deed of the defendant's residence located in Coral Gables, Fi.
. Surrender of all travel documents and no new applications for travel documents. Defendant's wife
shall also surrender her passport.* The defendant shall be placed under 24-hour HOME
INCARCERTATION to be enforced by location monitoring technology to be determined by Pretrial
Services, The defendant may only leave his residence for necessary medical services. All other leave from
the residence must be submitted through defense counsel for the court's approval.
. The defendant is permitted to self-install the monitoring equipment tinder the direction and
instruction of Pretrial Services .
. With the exception of the warranty deed for the Coral Gables residence, the defendant shall not
be released until. all conditions are met, including the availability of location monitoring equipment.
* This order shall be effective for a period not to exceed 60 days, at which time the need for
continued release under the "compelling reason" that release was ordered shall be revised by the Court.
, Within two weeks of his release, the defendant. must purchase or secutre an iPhone with FaceTime
capabilities for remote/virtual monitoring by Pretrial Services.
° When home visits are schedule by Pretrial Services, to the best of his ability, the defendant shall
comply with Pretrial Services request to remove all cohabitants of the residence prior to the visit.
* The defendant must report and disclose to Pretrial Services when any cohabitant of the residence,
including self, may be symptomatic of any illness.
* Upon release, the defendant must obtain the approval of Pretrial Services before entering into
any loan agreements or opening any other new lines of credit.

 

 
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AO 199C (Rev, 09/08) Advice of Penalties Page of _siPagess

 

 

' ADVICE OF PENALTIES AND SANCTIONS
TO THE DEFENDANT: MARK SCOTT 17 CR. 630 (ER)
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond; and a prosecution for contempt of court and could result in
imprisonment,-a fine, or both;

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten

years
‘and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year, This sentence will be
consecutive (i.2., in addition to} to any other sentence you feceive,

It is a crime punishable by up to ten years in prison,.and a $250,000.fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt'to rétaliate against a wimess, victim, or informant; or intimidate or
attempt to iritimidate a witeéss, victim, juror, informant, or officer of the court. The penalties. for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.

Hf, afler release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to-appear or surrender and additional punishment may be imposed. If you are convicted oft

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteeri years or more— you will be fined

not more than $250,000 or irprisoried for not more than 10-years, or both;

(2) an offense punishable by imprisonment for a term of five years. or more, but less than fifteen years — you will be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony — you-will be-fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor ~ you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive, In
addition, a failure-to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant
| acknowledge that I am the defendant in this case and that I ari aware of the conditions of release. 1. promise to obey all

conditions of release, to appear as directed, and surrender to serve any sentence imposed. 1 am aware of the penalties and sanctions
set forth above.

i
a Defendant's Sighaiure MARK SCOTT

Ca rt. Gay / Fleas,

‘City and: State

  

DEFENDANT RELEASED

 

Directions to the United States Marshal.

) The defehdarit is ORDERED released after processing,

.) The United States marshal is ORDERED to keep the defendant in custody until notified by the cletk or judge that the
defendant has posted bond and/or complied with all other conditions for release, If still in custody, the defendant must be
produced before the appropriate judge at the time and place specified.

ttt, pin,

DIDI

 

Judicial Officer’s Signature

 

 

AUSA’S Signature

 
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AO 199C (Rev. 09/08} Advice of Penalties Page of ____ Pages

DISTRIBUTION: COURT DEFENDANT PRETRIALSERVICE  U.S.ATTORNEY U.S. MARSHAL

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Scuthern Cistrict cf ew York

The Ercnx

Manhattan

Westchester
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erage
Putnam
Sultivan

 
 
 
 
 
 
 
 
 
  
  
 
  

Eastern Cistrict of New ¥crk

Brookbn (Kings County)
Queens (Queens County)
Staten Island (kichmond Ceunty)
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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK.

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UNITED STATES OF AMERICA, . Bail Modification Order

 

-V-
17 Cr, 630-1 (ER)
MARK §. SCOTT,

Defendant.
x

 

Ramos, DJ:

 

Upon release, the defendant must obtain the approval of Pretrial Services
before entering into any loan agreements or opening any other new lines of credit.
It is SO ORDERED.

Dated: March 30, 2020
New York, New York

a

Edgardo Ramos, U.S.D.J.

 
